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                                 UNITED STATES DISTRICT COURT
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                                SOUTHERN DISTRICT OF NEW YOR                                                  6/3/2020




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    Steven Rawlins                                                                           1,,w 2 1 2020                    I


    Write the full name of each plaintiff or petitioner.
                                                                    No. _013_5
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                                                                                   i        ,t OFFICE
                                                                                 cv-0_1_3_5_··_-·
                             -against-
                                                                MOTION FOR PERMISSION FOR
    United States of America                                     ELECTRONIC CASE FILING


    Write the full name of each defendant or respondent.


I respectfully ask the Court for permission to participate in electronic case filing
("e-filing") in this case. I affirm under penalty of perjury that:

    1. I have reviewed the Court's Electronic Case Filing Rules & Instructions, available at
       htl.JuLnysd.uscourts.gov/ecf filing.php, and agree to abide by them.

    2. I completed the Court's CM/ECF introduction course 1 on                   5/13/2020
    3. I have submitted a Non-Attorney E-File Registration for the PACER system at
       https://www.pacer.gov/reg nonatty.html.

    4. I understand that once I register for e-filing, I will receive notices and documents
       only by e-mail in this case and not by regular mail.

    5. I understand that if I am granted permission to participate in e-filing, I must file my
       documents electronically and I may not submit documents to the Pro Se Intake Unit
       for scanning and docketing.

    6. I know how to convert a document to PDF-A format.

    7. I have regular access to the technical requirements necessary to e-file successfully:

         !!I a computer with internet access and a word processor

                type of computer r will be using:          Dell Laptop (Microsoft 10)

1   You may register for the course on the Court's website: htt_pJlDvsd.uscourts.,;oviecf training.php.


SONY Rev, 10/4/18
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                                                 SO ORDERED.        6/3/20
The motion for permission for
electronic case filing is granted.
SO ORDERED.

                                                 Alison J. Nathan, U.S.D.J.
